Case 21-30589-MBK               Doc 2494 Filed 06/13/22 Entered 06/13/22 17:09:49                       Desc Main
                                        Document    Page 1 of 11



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     ATTORNEYS FOR DEBTOR
     In re:                                                      Chapter 11

     LTL MANAGEMENT LLC, 1                                       Case No.: 21-30589 (MBK)

                                Debtor.                          Judge: Michael B. Kaplan


                   NOTICE OF AMENDED 2 AGENDA OF MATTERS SCHEDULED
                        FOR HEARING ON JUNE 14, 2022 AT 10:00 A.M.

                             Parties are directed to https://www.njb.uscourts.gov/LTL
                   for appearing via Court-Solutions or in-person, or observing via zoom




 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.
 2
              Amended agenda items appear in bold.



 NAI-1531406043
Case 21-30589-MBK         Doc 2494 Filed 06/13/22 Entered 06/13/22 17:09:49              Desc Main
                                  Document    Page 2 of 11



                                    STATUS CONFERENCE

 1.      Pursuant to the Court’s May 27, 2022 order, a status conference on the case is going
         forward.

         Status: This matter is going forward.

         Response Deadline: June 10, 2022 by 5:00 p.m., prevailing Eastern Time for any party
         wanting to docket statements in advance of the status conference.

         Related Documents:

         A.       Official Committee of Talc Claimants’ Status Report Dated June 10, 2022
                  [Dkt. 2465].

         B.       Debtor’s Statement on Proposed Next Steps in Chapter 11 Case [Dkt. 2473].

         C.       Official Committee of Talc Claimants’ Limited Response to Debtor’s Status
                  Report Dated June 10, 2022 [Dkt. 2488].


 MATTERS NOT GOING FORWARD

 2.      Debtor’s Motion for an Order Authorizing Establishment of a Qualified Settlement Fund
         for Payment of Talc Claims [Dkt. 8].

         Status: This matter has been adjourned to the September 14, 2022 hearing.

 3.      Debtor’s Motion for an Order (A) Authorizing the Filing Under Seal of Certain
         Confidential Commercial Information in Connection with the Debtor’s Motion for an
         Order Authorizing Establishment of a Qualified Settlement Fund for Payment of Talc
         Claims and (B) if Necessary, In Camera Hearing [Dkt. 9].

         Status: The matter has been adjourned to the September 14, 2022 hearing.

 4.      Motion for an Order Granting Relief From the Automatic Stay to Allow the NJ Coverage
         Action to Proceed [Dkt. 1488].

         Status: The matter has been adjourned to the July 6, 2022 hearing.

 5.      Motion for an Order (I) Confirming That the Automatic Stay Does Not Apply to the New
         Jersey Coverage Action Or, in the Alternative, (II) Granting Relief From the Automatic
         Stay to Allow the New Jersey Coverage Action to Proceed [Dkt. 1491].

         Status: The matter has been adjourned to the July 6, 2022 hearing.




                                                -2-
 NAI-1531406043
Case 21-30589-MBK         Doc 2494 Filed 06/13/22 Entered 06/13/22 17:09:49                 Desc Main
                                  Document    Page 3 of 11



 CONTESTED MATTERS GOING FORWARD

 6.      Application of the Official Committee of Talc Claimants for Retention of Houlihan
         Lokey Capital, Inc. as Investment Banker Under Bankruptcy Code Section 328(a)
         Effective as of December 17, 2021 [Dkt. 953] (the “Houlihan Retention Application”).

         Status: This matter is going forward. The Court previously heard oral argument
         on this matter on May 24, 2022.

         Objection Deadline: May 17, 2022

         Related Documents:

         A.       Official Committee of Talc Claimants I January 9, 2022 Letter to the Court
                  [Dkt. 1100].

         B.       Supplemental Certification of Saul R. Burian in Support of the Houlihan
                  Retention Application [Dkt. 1110].

         C.       Interim Order Authorizing the Retention of Houlihan Lokey Capital, Inc. as
                  Investment Banker to the Official Committee of Talc Claimants I Under
                  Bankruptcy Code Section 328(a) [Dkt. 1133].

         D.       Interim Order Authorizing the Retention of Houlihan Lokey Capital, Inc. as
                  Investment Banker to the Official Committee of Talc Claimants I Under
                  Bankruptcy Code Section 328(a) [Dkt. 1244].

         E.       Determination of Adjournment Request Granted [Dkt. 1620].

         F.       Supplemental Exhibit to Houlihan Retention Application [Dkt. 2055].

         G.       Determination of Adjournment Request Granted [Dkt. 2193].

         H.       Official Committee of Talc Claimants May 19, 2022 Letter to the Court
                  [Dkt. 2319].

         I.       Response by the Official Talc Claimants Committee to the Debtor’s Supplemental
                  Omnibus Objection to the Retention of Houlihan Lokey Capital, Inc., FTI
                  Consulting, Inc. and The Brattle Group, Inc. [Dkt. 2330].

         J.       Second Supplemental Certification of Saul R. Burian in Further Support of the
                  Houlihan Retention Application and in Response to the Debtor’s Supplemental
                  Omnibus Objection Thereto [Dkt. 2332].

         K.       Statement of Fee Examiner in Connection With the Second Supplemental
                  Certification of Saul E. Burian in Further Support of Retention of Houlihan Lokey
                  Capital, Inc. as Investment Banker to the Official Committee of Talc Claimants



                                                 -3-
 NAI-1531406043
Case 21-30589-MBK         Doc 2494 Filed 06/13/22 Entered 06/13/22 17:09:49                  Desc Main
                                  Document    Page 4 of 11



                  and in Response to the Debtor’s Supplemental Omnibus Objection Thereto
                  [Dkt. 2393].

         L.       Third Supplemental Certification of Saul R. Burian in Further Support of
                  Houlihan Retention Application [Dkt. 2426].

         Objections Received:

         M.       Debtor’s Omnibus Objection to Application of the Official Committee of Talc
                  Claimants for Retention of Houlihan Lokey Capital, Inc. as Investment Banker
                  Under Bankruptcy Code Section 328(a) Effective as of December 17, 2021 and
                  Application for Retention of FTI Consulting, Inc. as Financial Advisor for the
                  Official Committee of Talc Claimants Effective December 13, 2021 [Dkt. 1087].

         N.       Debtor’s Supplemental Omnibus Objection to Applications of the Official
                  Committee of Talc Claimants to Retain (I) Houlihan Lokey Capital, Inc. as
                  Investment Banker, (II) FTI Consulting, Inc. as Financial Advisor and (III) The
                  Brattle Group, Inc. as Talc Consultants [Dkt. 2313].

         O.       Objection of the United States Trustee to the Official Committee of Talc
                  Claimant’s Application for Retention of Houlihan Lokey Capital, Inc. as
                  Investment Banker Under Bankruptcy Code Section 328(a) Effective as of
                  December 17, 2021 [Dkt. 2493].

 7.      Debtor’s Application for Retention of Hogan Lovells US LLP as Special Counsel
         [Dkt. 2240].

         Status: This matter is going forward.

         Objection Deadline: May 20, 2022

         Related Documents:

         A.       Reply in Support of Debtor’s Application for Retention of Hogan Lovells
                  US LLP, Effective as of April 4, 2022 [Dkt. 2476].

         Objections Received:

         B.       Objection of the United States Trustee to Debtor’s Application for Retention of
                  Hogan Lovells US LLP as Special Counsel, Effective as of April 4, 2022
                  [Dkt. 2324].

 8.      Debtor’s Motion for an Order Authorizing it to Enter into Expense Reimbursement
         Agreement With Ad Hoc Committee of State Attorneys General [Dkt. 2338].

         Status: This matter is going forward.

         Objection Deadline: June 7, 2022


                                                  -4-
 NAI-1531406043
Case 21-30589-MBK         Doc 2494 Filed 06/13/22 Entered 06/13/22 17:09:49               Desc Main
                                  Document    Page 5 of 11



         Related Documents:

         A.       Ad Hoc Committee of States Holding Consumer Protection Claims’ Response in
                  Support of Debtor’s Motion for an Order Authorizing it to Enter into Expense
                  Reimbursement Agreement With Ad Hoc Committee of State Attorneys General
                  [Dkt. 2467].

         B.       Debtor’s Reply in Support of Motion for an Order Authorizing it to Enter into
                  Expense Reimbursement Agreement With Ad Hoc Committee of State Attorneys
                  General [Dkt. 2471].

         Objections Received:

         C.       United States Trustee’s Objection to Debtor’s Motion for an Order Authorizing It
                  to Enter Into Expense Reimbursement Agreement With Ad Hoc Committee of
                  State Attorney General [Dkt. 2427].

 9.      Motion by Movant Anthony Hernandez Valadez for an Order Granting Relief From the
         Preliminary Injunction to Allow Him to File His Asbestos Personal-Injury Action in
         California State Court, or, in the Alternative, (II) Conduct Discovery, and (III) Waiving
         the Fourteen Day Stay Under Federal Rule of Bankruptcy Procedure 4001(a)(3)
         [Dkt. 2348].

         Status: This matter is going forward.

         Objection Deadline: June 7, 2022

         Related Documents:

         A.       Maune Raichle Hartley French & Mudd LLC’s Joinder in Support of Motions by
                  Anthony Hernandez Valdez and Audra Johnson for an Order Granting Relief
                  from the Preliminary Injunction [Dkts. 2466, 2484] (the “Maune Joinder”).

         B.       Movant’s Reply to Debtor’s Omnibus Objection [Dkt. 2469].

         Objections Received:

         C.       Debtor’s Omnibus Objection to Anthony Hernandez Valadez’s and Audra
                  Johnson’s Motions Seeking Relief From the Preliminary Injunction and Certain
                  Related Relief [Dkt. 2429] (the “Debtor’s Omnibus Objection”).

 10.     Motion by Movant Audra Johnson for an Order Granting Relief From the Preliminary
         Injunction to Allow Her to File an Asbestos Personal-Injury Action in California State
         Court, or, in the Alternative, (II) Conduct Discovery, and (III) Waiving the Fourteen Day
         Stay Under Federal Rule of Bankruptcy Procedure 4001(a)(3) [Dkt. 2349].

         Status: This matter is going forward.



                                                 -5-
 NAI-1531406043
Case 21-30589-MBK         Doc 2494 Filed 06/13/22 Entered 06/13/22 17:09:49             Desc Main
                                  Document    Page 6 of 11



         Objection Deadline: June 7, 2022

         Related Documents:

         A.       The Maune Joinder.

         B.       Movant’s Reply to Debtor’s Omnibus Objection [Dkt. 2470].

         Objections Received:

         C.       The Debtor’s Omnibus Objection.



                     INTERIM FEE APPLICATIONS GOING FORWARD

 The following uncontested interim applications for compensation and reimbursement of
 expenses are going forward:

 11.     AlixPartners, LLP [Dkt. 1771].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       Fee Examiner’s Consolidated Final Report Pertaining to the Interim Fee
                  Applications of Retained Professionals for the Period From October 14, 2021
                  Through January 31, 2022 [Dkt. 2385] (the “Fee Examiner Final Report”).

         Objections Received: None.

 12.     Bailey Glasser LLP [Dkt. 1757].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.

         B.       Debtor’s Statement Regarding Interim Fee Applications Filed by Professionals for
                  the Official Committee of Talc Claimants, the Official Committee of Talc
                  Claimants I and the Official Committee of Talc Claimants II [Dkt. 2432]
                  (the “Debtor’s Statement”).

         Objections Received: None.

 13.     Bates White, LLC [Dkt. 1778].

         Objection Deadline: June 7, 2022.


                                                   -6-
 NAI-1531406043
Case 21-30589-MBK         Doc 2494 Filed 06/13/22 Entered 06/13/22 17:09:49   Desc Main
                                  Document    Page 7 of 11



         Related Documents:

         A.       The Fee Examiner Final Report.

         Objections Received: None.

 14.     Blake, Cassels & Graydon LLP [Dkt. 1777].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.

         Objections Received: None.

 15.     FTI Consulting, Inc. [Dkt. 1755].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.

         Objections Received: None.

 16.     Genova Burns LLC [Dkt. 1758].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement.

         Objections Received: None.

 17.     Houlihan Lokey Capital, Inc. [Dkt. 1764].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement.

         Objections Received: None.


                                                   -7-
 NAI-1531406043
Case 21-30589-MBK         Doc 2494 Filed 06/13/22 Entered 06/13/22 17:09:49   Desc Main
                                  Document    Page 8 of 11



 18.     King & Spalding LLP [Dkt. 1753].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.

         Objections Received: None.

 19.     Massey & Gail [Dkt. 1776].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement.

         Objections Received: None.

 20.     McCarter & English, LLP [Dkt. 1728].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.

         Objections Received: None.

 21.     Otterbourg P.C. [Dkt. 1763].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement.

         Objections Received: None.

 22.     Parkins & Rubio LLP [Dkt. 1762].

         Objection Deadline: June 7, 2022.




                                                   -8-
 NAI-1531406043
Case 21-30589-MBK         Doc 2494 Filed 06/13/22 Entered 06/13/22 17:09:49   Desc Main
                                  Document    Page 9 of 11



         Related Documents:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement.

         Objections Received: None.

 23.     Sherman, Silverstein, Kohl, Rose & Podolsky, P.A. [Dkt. 1756].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement.

         Objections Received: None.

 24.     Skadden, Arps, Slate, Meagher & Flom LLP [Dkt. 1779].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.

         Objections Received: None.

 25.     Waldrep Wall Babcock & Bailey PLLC [Dkt. 1754].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.

         B.       The Debtor’s Statement.

         Objections Received: None.

 26.     Weil, Gotshal & Manges LLP [Dkt. 1870].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.


                                                   -9-
 NAI-1531406043
Case 21-30589-MBK         Doc 2494 Filed 06/13/22 Entered 06/13/22 17:09:49         Desc Main
                                 Document    Page 10 of 11



         Objections Received: None.

 27.     Wollmuth Maher & Deutsch LLP [Dkt. 1769].

         Objection Deadline: June 7, 2022.

         Related Documents:

         A.       The Fee Examiner Final Report.

         Objections Received: None.

                  INTERIM FEE APPLICATIONS NOT GOING FORWARD

 The following interim applications for compensation and reimbursement of expenses have been
 adjourned to July 6, 2022:

 28.     Brown Rudnick LLP [Dkt. 1761].

 29.     Cooley LLP [Dkt. 1767].

 30.     Miller Thomson LLP [Dkt. 2233].

 31.     Rayburn Cooper & Durham, P.A. [Dkt. 1748].




                                               -10-
 NAI-1531406043
Case 21-30589-MBK        Doc 2494 Filed 06/13/22 Entered 06/13/22 17:09:49             Desc Main
                                Document    Page 11 of 11



  Dated: June 13, 2022                        WOLLMUTH MAHER & DEUTSCH LLP

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                                           -11-
 NAI-1531406043
